                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    CRIMINAL ACTION

VERSUS                                                      NO. 18-242

DAVID HANSON ET AL                                          SECTION "B”(4)

                                     ORDER

       Considering     the     government’s           “Unopposed        Motion   and

Incorporated Memorandum to Continue Sentencing Hearing” (Rec. Doc.

34),

       IT IS ORDERED that the motion to continue is GRANTED in

part. The sentencing hearing, currently scheduled for September

4, 2019, is hereby CONTINUED to November 20, 2019 at 2:00 p.m.

This     is   the    second    requested         continuance       of    sentencing.

Sentencing    memoranda,      if   any,       shall   be   filed   no    later   than

November 11, 2019 and responsive memoranda, if any, no later

than November 15, 2019.

       New Orleans, Louisiana this 3rd day of September, 2019


                                     ___________________________________
                                     SENIOR UNITED STATES DISTRICT JUDGE




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